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                 EXHIBIT B
            Case 8:22-cv-01660-AEP                       Document 77-2           Filed 07/20/23           Page 2 of 2 PageID 951

From:                          Chris Wolf <cwolf@mutualmortgage.com>

Sent:                          Tuesday, March 29, 2022 10:29 PM
To:                            Dwayne Hutto <dhutto@mutualmortgage.com>; Zeke Waterman
                               <zwaterman@mutualmortgage.com>
Subject:                       RE: Hennessey



Sent


  Chris Wolf

  Vice President of Mortgage Lending
  Mobile: (321) 278-9930
  Office: (386) 742-0555
   Fax: (630) 426-2668
   900 W. Granada Blvd, Suite 4
   Ormond Beach, FL 32174
   NMLS # 1626538




From: Dwayne Hutto <dhutto@mutualmortgage.com>
Sent: Tuesday, March 29, 2022 2:09 PM
To: Zeke Waterman <zwaterman@mutualmortgage.com>; Chris Wolf <cwolf@mutualmortgage.com>
Subject: Hennessey
Can you guys forward the full file to Mike Smalley at Waterstone? They can get it done

Sent from my iPhone

                                Dwayne Hutto
                          = Vice President of Mortgage Lending
                            Mobile: (386) 334-6464
                           4
                            Office: (386) 742-0555
                            Fax: (630) 426-2690
                                900 W. Granada Suite 4
                                Ormond Beach, FL 32174
                                NMLS # 110495




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